Case No. 1:17-cr-00168-CMA      Document 79      filed 01/07/19   USDC Colorado      pg 1
                                        of 2




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Case No. 17-cr-00168-CMA

UNITED STATES OF AMERICA,

             Plaintiff,

v.

KAREN MCCLAFLIN

           Defendant.
_____________________________________________________________________

                        ENTRY OF APPEARANCE
_____________________________________________________________________
     Thomas J. Hammond, duly licensed to practice in the United States District

Court for the District of Colorado, enters his appearance as counsel for Ms. McClaflin

in the above captioned case, pursuant to the Criminal Justice Act, 18 U.S.C. §3006A.


                                                Respectfully submitted,

                                                s/ Thomas J. Hammond
                                                Thomas J. Hammond
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Case No. 1:17-cr-00168-CMA     Document 79     filed 01/07/19   USDC Colorado     pg 2
                                       of 2




                             CERTIFICATE OF SERVICE

      I hereby certify that on January 7, 2019, I electronically filed the foregoing
ENTRY OF APPEARANCE with the Clerk of the Court using the CM/ECF filing system
which will send notification of such filing to the appropriate parties.



s/ Thomas J. Hammond
Thomas J. Hammond
